         Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 1 of 9 PageID 193
AO 2458 eRe 06/05) Sheer I . Judllmcm in a riminal Case


                               UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        T AMP A DIVISION



UNITED STATE           F AMERICA                                 J1JDGMEN'r IN A CRIMINAL CASE

                                                                 C. SE! MBER: 8:07-cr-5J4-T-30EAJ
                                                                 USM urvrnER: 49805-018
\Os.




ELTONIA AVON I-flIMPHRlES
                                                                 Defendant'   lIomey: Edward liebling, cja.

Tl-IE DEF NDA T:

.K... pleaded guilty 10 COUllICS) 0
                                  - of the I DICTMENT.
_ pleaded nol contendere to COlimeS) which wa: accepted by the court.
_ wa' found guilty on count(s) after a plea of nOI guilty.



TITLE & ECTION                         ATURE OF OFFENSE                                            ENDED                 COUNT

21 U.S.c. .' ~ [46 and                Conspimcy to Po 'es \\ iLh Intent to          December 4.2007                        One
84\ (b)( I )(A)(ii)                   Distribute - Kil gram or More of
                                      Cocaine


          TIle delendant is sentenced a' provided in pages 2 througb 6 ofLhi judgment. The sentence is imposed pursu8m lo the Sentencing
Refoml     ct of 198-1.

_ The defendanr has been found not guilty on COllJlt(s)
.K... Coum( ') T\ 0 of the Indictment is di 'mis 'ed on the motion of Lhe United   tate'.

IT IS FURTH R ORDER D that the defendant must notify the United tates !tomey for thi district within 30 day or any ch.ange f
name. r idence, or mailing addres' until all fines. restitution. co rs. and special as.cs 'm nlS imposed by this judgment are fully paid.
If ordered to pay restitution, Lhe defendam must notify the court and United lates Attorney of any material change in economic
circumstances.


                                                                                    l)<Jl~   or Imposil ion of Sentence: eptember 16. 2008




                                                                                    D        E: September   ~. 2008
          Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 2 of 9 PageID 194
AO 1458 (Rev 06/05) Sheet 2 - Imprisonment (Judgmellt in a Criminal Case)
Defendant:          ELTO LA LAVO HUNIPHRIES                                                                   Judgment - Page ...L of -.L
Case No.:           8:07-cr-534-T-30EAJ

                                                              IlVIPRlSONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 V.S.c. §§
3553(a)(l)-(7), the court tinds that tbe sentence imposed is sufficient, but not greater than necessary, to comply witb
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of FIFTY-SEVEN (57) MONTHS as to Count One of the Indictment.




..2L.- The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at a correctional
facili ty in Northern Georgia. The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.




...x.. The defendant is remanded to the custody of the nited States 1arshal.
   The defendant .,hall surrender to the United States Marshal for thi di mel.

          _ at _ a.m./p.m. on _'
          _ as norified by the United States Mar,;hal

_ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,

          _ before 2 p,m. on  _0




          _ as notified by the United States Marshal,
          _ as notified by the Probation or Pretrial Services Office.




                                                                        RETUR.!'\f

          I have executed this judgment as fol10\\ls:




          Defendant delivered on                                             to                                                _
     ar                             ~_ _~~~-----'witb a certified copy of this judgmcnL



                                                                                  United States Marshal

                                                                        By                                                                  _
                                                                                          Deputy United States Marshal
        Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 3 of 9 PageID 195
AO 2458 (Rev. 06 0-) heel 3 - upeniscd Rdcas~ (Judgment in a Criminal C e)

Defendant:                                     IIPHRlES                                                            J udgmcnt - Page _3_ of ...Q....
Case 0.:
                                                           SUPERVISED RELEASE

       Upon rl'lease from imprisonment, the dl'fendant shall be on supervised relcllse for II term of THREE (3) YEARS as to
Count One of the Indictment

         The defendant must r pol1lo Ihe probation office in !be district to which the defendant is re1<::nsed wilhin 72 hours of release from
!be CUSlO y of the Bureau of Pri. os.

The defendant shall not commit another federal :tate. or local crime. The defendant hall not unlawfully posse sa conuolled sub lance.
The defendant ball refrain fr m any unlawful use of a controlled 'ubstance. The def,'ndant 'hall ubmit t ne drug test within 15 days
of relea:'e from irnpri onment and at leastl\ 0 peri die drug te IS thereafter. a determined by the eOllrt.

.x       The defendant shall not po'se" a fueann. de tructive dc\ice. or an o!ber danger us weapon.

.x       The defendant hall co perate in !be colle tion of D A as directed by the probati n ftIccr.

          lflhi Judgment impose. a line or re titution It is a condiuon of supervi ed release that the dctendam pay in accordance with the
          Scbedul ofPaymcllt· sheet of this judgment.

          The defendant must c mply with the standard conditiolli that ha\'e been adopted by thi c ul1 'well a wi!b any additional
          eonditi ns on the ttached page.

                                              T      DARn CONDITIONS Of SUPERVI 10
 1)       the defendant hall n I le3\e the judicial dislrict without the permis ion of the court or prob:llion ollicer:

 2)       the defendam hall n:p n to the probation officer and shall submit a truthful and eomplele wriUcl1 report wilhin the tirst ti e days of each
          momh:

 3)       the defendant shall answer truthfully all inquiries by the probation 0 Icer and follow till: insrrucl'illnS uf the probation ofticcr:

 4)       rhe ddcndant JJaIl support his llr her dependent' and meet other family responsibilities;

 5)       the defendant shall work regulurly at a hnvful occupatio~ unl        excu ed by lhe probation orlkcr liH schooling, Iraining, or oiher
          acceptable rea on ;

 6)       rhe defendant 'hall notify the probation officer al least len days prior to an~ change:: in residence or empillyment;

 7)       the de::fendal1l 'hall refrain from excessive use of alcohol and haJl not purchase. p ssess, use. di tribute. or t1dminL ler any controlled
           ub ranee r any pamphcmalia related t any ontrolled. ubStJJlces. except a pre 'cribed by a physician:

 S)       the defendant shall not rrequcnl places \\ he.e controlle.d ubstances are illegally ·old. uscd, distrihuled, or admini tered:

 9)       the defendam hall not      0 iOle wilh any person engaged in criminal acti\'ity and shall nOI a'isociatc with an)' person convicted of a
          felony. unless gr.mted pL7l11i-sion to do '0 by the probation officer:

 10)      the defendant shall pemlit a probation officer 10 \i it him or her al any time ar h me or elsewhere and shall permit confi- ation of any
          contraband ob ened in plain \ iew of the prohation fficer:

 II)      the defendant shall notif~lthe probation officer \\ithin evenly-Iwo houp-> ofbt:ing arresled or questioncd by a la\\ enfor enlcOl officer:

 J 2)     the defendam shall not enter imo an agreemenl 10 act as an informCi or a. pecial agent of 1I 11Iw cnlon:cnll:m agene) without the
          penni- ion of the court; and

 I 3)     as directed by the probation ol'fi ·er. lhe defendant sh:Jll n tify third panies of ri ks that may be 0 casioned by Ihe dett:ndant' • criminal record
          or personal history llr characteristics and :hall permil the probation officer 10 make such nOlificlilion' ,lIld to eonfirm the defendant's
          compliance with such nOlification requirement.
    Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 4 of 9 PageID 196


                                                                                                Judgment - Pag   i   of --lL.


                                  SPECIAL CONDlTIONS OF SUPERVISION

     The defendant hall al 0 compl. with the following additional anditions f supervised release:

X    The defendant h, II participate in a '00 tance abu.'ie program (outpatient and/or inpatient) and Follow te probation of:Iicer's
     instructi n. regarding the implementation of this coun directive. Further. the defendant shall be required to contribute to the
     co ts f service lor such treatrn nt not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
       ubstance Abuse Treatment ervicc'. During and upon completion r this program, the defendant is directed to submit to
     random drug te'ting.

X    The defendant 'hall cooperate in the collection of D A as directed by the probation oflicer,

X    The mandatory drug testing provisi ns shall apply pursuant to the   iolent Crime Conlr I ACL The Coun orders r ndorn drug
     testing not to exceed 104 tests per year.
        Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 5 of 9 PageID 197
 AD 2458 lRc

 Defendant:                                                                                              Judgment - Page.....:i... of ....Q....
 Case   0.:

                                           CRIMINAL MONETARY PENALTIES

         nlC defendant must pay the I      lal criminal monetary penalties under the schedule of paymen IS on Sheet 6.

                             Assessment                                                        Total Rcstitu tion


         Totals:             $ LOO.OO                             Waived                       N/A



         The determination frc lilulion is deferred until __                  n Amended Judgment i/7 u riminal Case ( 0 24~C) will
         be entered aft r u h del rminalion.

         1l1e defendant mu I make r titution (including community restitution to the fI II wing pa c                  in the amounr listed
         below.

          Lf the defendnm make a partial payment. each payee hall recei e an approximately proportioned payment, unless
           peeiiied otherwise in the priority order or ~rcentage p~ymenl column below. 1-10\ e er, pursuant to 18 .. c.,
          3664(i). all n n-federal ietim mu r be paJd before the United          tates.



 Name of P3\,ee                                Total Loss"                   Re titution Ordered                    Priority or Pcrcenta\?e




          Restitution amounl rdered pursuanl to plea agreement S                      _

         The defendant must pay int rest on a f'ine or reo tirution of more than _.500. unless the restilution or t'ine is paid in full
                                                                                           **
         before the fine nth da after the dale of the judgment. pursuanl 10 18 U.S.c. 3 1_ I). All f the payment options OD Sheel
         6 may be ubject 10 pcnaltie for delinquency and defaulL pursuant to 18 U. . . 361_(g).

         The coun determined Ihn! the defendant does nOl have the ability to pa intereSl and it is rdered thaI:

                   the intere:t requirement is waived for the _   fine   _      restitution.

                   the interest requirement for the _    fine _    re IitutiOD is modified as follows:



* Finding for the IOta I am unt flo'. e are reqUired under Chapters I09A J LO. 110 ,and 113          or ide 1 forthe offense" commined
on or after eplember 13 1 94. but before pril_J. 1996.
         Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 6 of 9 PageID 198
AO 2"*58 (Re\ 06,05) Sheet 6 - chL-dulc ofPnymcnts (Judgmcnt in a Criminal Case)

Defendant:                                                                                                                          --2- of--L
Case 0.:


                                                    SCHEDULE OF PAYMENTS



Having assessed the defendant' ability to pay payment of the total criminal monelary penalLies are due as follows:


A.         X       Lump sum pa ment [             100.00 due immediatel ,balan e due

                                  nollater than               , or
                             _    in a cordance _ C,            0, _     E or _ F below; or

B.                 Payment to begin immediately may be combined with _                   C, _     D, r _      F bel w): or

e.                 Paym m in equal                (e.g.. weekly monthly quarterly in tallment f,               ver a period
                   of        (e.g.. month or years). to commence          days ( .g., 30 or 60 da s) after the date of this
                   judgment; r
D.                 Paymem in equal              e.g.. \ eekly. monthly. quarterly) installment                                       er a p riod of
                                                                                                                  ".......,._.,.....- 0
                   .,-----,-  , ( .g., month or years) to commence                      (e.g. 30                              ) after release from
                   imprisonment 1 a term of supervision; or
E.                 Paymem during the term of upervi d release will ommence within                      (e.g., 30 or 60 da s)
                   after release fr-m impri ournenl. The ourt will set the payment plan bas d on an a sessment of the
                   defendant's ability I pay at that time, r
F.                 Special instructions regarding the paymenl of criminal monetary penalties:




Unles~ thl? court ha~ xpre .' ord red othef\yis.e if this judgmenl ~lposes imprisonment, payment of criminal monetary
penalties t due dunng lmpn onm nt.      II cnmlnal monetary penalties, except th e payment made through the Federal
Bureau of Prisons' Inmate Financial Respon ibility Program. are made to the clerk of the uft.
The defendant hall receive credil for all payments previously made toward any criminalm n tary penalti                                    imposed.

         Joint and Se eral
        Defendam and      -0 fendant ames and Case I umbers (including defendant number). Tolal Amount. Joint and
Se eraJ .Pvnoum. and c rre ponding pa ee, if appropriate:


         The defendant hall pay the co t of prosecution.
         The defendant hall pa th follo\ ing court co t( ):
X        The d fendant hall forf it Ih d fendant' imere t in the foU \ ing property 10 th                    nited States:
       The oun orders that the dCD ndanl forfeit to the nited States immediat Iyand olunlarily any and all assets and
propeny or ponion there r. ubi etta forfeiture. \ h.ich are in the possession or c nIl' I ('the d fendant r the d fendanrs
nominee, specifi aUy, 94,020.00 in ruled States Currency, and a 2003 Rang Rver IN # S               rEI1473A 139950. The
Court makes final the preliminary rder of forfeiture [Dkt. 60] and makes it a part rthi judgm nt.
Payments shall be applied in the ~ II wing order: (1) a 'ses'menl, (2) re'tillition principal. (3) reslituli n interest. (4) fine principal, (5)
fine interest, (6) communilY restituli n. (7) pcnallic'. and (8) co IS, including co t of pr seelilion and e urt co, ts.
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.                                             Case N,). 8:07-cr-534-T-30EAJ

  ELTJ ~ If, l,6 V':>r J h U MP~ RIES,

         Defendant.




                          PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE comes before the Court upor the filing of the Motion (Dkl #58) of the

  United States of America for Entry of a Preliminary Order of Forfeiture, which shall be a

  final order of forfeiture as to defendant Eltonia Lavon Humphries' right, title. and interest

  Ll $~}4,020.0U ,n United Stdt~s currency.

         Being fully advised in the premises, tile Court finds that the United States has

  established the nexus between the crime of conviction and the $94,020,00 in United States

  CLFcrCJ 81,J


         WHEREAS, by viltue of the defendant's plea agr-eement, the United States IS now

  entitled to possession of the currency listed above pcJrsuant to 21 U.S.C. § 853(a), and

  Rule 32.2(t}(2) of the Federal Rules of Criminal Proc3dure;

         It 13 hUt:b/ ORDERED. ADJUDGED, and DECREED:

         1.      The Motion (Dkt. #58) of the United States of America for Entry of a

  Preliminary Order of Forfeiture is GRANTED;
Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 8 of 9 PageID 200




          2.      That all rig"t, t th~ and interest of de e'1ca"t Eltonia Lavon Humphries in the

  above-listed currency are hereby condemned and forfeited to the United States for

  disposition In accordance 'vIith the law, subject to the provisions of 21 U.S, C. § 853;

          ':      That. followir £ the entry of an 0 der 0' forfeiture, the United Slates shall

  p blish notice of the order and of Its intent 0 d spcse of the forfeited asset in such a

  manner as the Attorney General may direct The United States may also, to the extent

  prac'icable, ro ide direct written notice ,0 ary perso, known to helve alleged an interest

  In th"" 3.Jove-jescnte     ctS5e, that if the sub~ec o~ hi,,, Prelimirary Order of rorfeiture, as

  a substitute for published rotice as to those persons so 'lotified;

          4.     That the Court retains jurisdic io         to   nter a y or ers necessary for the

  f::' :1 II ~ allc dls;Jcsil'o of 'he subjec. property, 3rd to gddi'eSS anv third party petitions

  that may be tiled in the ancillary proceedings;

          5,     That any person, other than EI onia Lavon Humphries, v/ho has or cl8ims a

  legal interest In the a ove-described proper:y shall file a pelition with this Court for a

  11 al irg to c:.d)udicate the v I dity of I,is alleged interest in the forfeited asset. The petition

  shall be mailed to the Clerk of the United States District Court, Sam Gibbons Federal

  Courthouse, 801      0   h Florida Avenue, 2'lC Floor. Tampa, Florida 33602, within U,irty \30)

  C!r) ~ r f tr e fi'lal pUJlir.at on Jf no:ice or of receipt of c ctGa, notice, v.hicnever IS earlier;


         G.      Tha the peti Ion must be signed by tle petitioner under penalty of perjury,

  ar,d shall set forth the nature and extent a the peti-iorer's right, title or interest in the

  fo ieited ass t. t,e time and cIrcumstances 0': the peLtioner's acqLisilion of the right. ille

  or i rE;~e~[ II) h~ fJ 8il C a3set, and any adoltlona; facls surrounding the peti ianer's claim

  and the relie sought;
Case 8:07-cr-00534-JSM-E_J Document 79 Filed 09/17/08 Page 9 of 9 PageID 201




            7.        That, after receipt of the petition by [he Court, t~le Court will set a hearing to

  dE.tcrr line t l,~ /a idily of the o-:31itior,er's alleged irtErE-s' In the orfE:ited assel, end

            8.        That, upon adjujication of all third-par-y interes S ir the above-described

  asset, this Court will enter a Final Order of Forfeiture. pursuant to 21 U.. C. § 853 and Fed.

  R r:>irT , . 22 2iC)12), In whlcn all interests will be ed ressej,

            DONE ()nd ORDERED in Tampa. Florida ur                 lay 5,2008.

                                                             ,.-                                                      .
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                                                                        ,.       /(
                                                                                      1.1'
                                                                                       "1 I                   ~
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                                                              _ _I _ L ~?t',J   .;;                ,I   ,..

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                                                                                                                           ,/ , ).
                                                                                                                                __


                                                           r\\fE'.,. :\10 D.'. fRo         . 'l'
                                                           C' I: ED ~ T..\.TES DI~TRlC f ..leDGE

  ConformE;d copies to:
  All Counsel/Parties of Record

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